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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF MINNESOTA
                        Case No. 20-cr-207 (JRT/HB)

 UNITED STATES OF AMERICA,                )
                                          )
                     Plaintiff,           )
                                          )
       v.                                 )
                                               ORDER FOR DETENTION
                                          )
 ROMELLE DARRYL SMITH,                    )
                                          )
                     Defendant.           )



      Defendant Romelle Darryl Smith is charged by indictment with one count of

possessing a firearm as a felon and armed career criminal, in violation of 18 U.S.C.

§§ 922(g) and 924(e)(1). The matter came before the Court on September 24, 2020, on

the government’s motion for pretrial detention pursuant to 18 U.S.C. § 3142(f)(2). Mr.

Smith consented to appear at the hearing via videoconference, and he was represented

by Glenn Bruder, Esq. The government was represented by Assistant U.S. Attorney

Emily Polachek.

      Through his counsel, Mr. Smith advised the Court that he does not contest

pretrial detention at present. Mr. Smith’s waiver is based upon a current hold with the

Minnesota Department of Corrections and pending criminal charges in Hennepin

County. Mr. Smith reserves the right under § 3142(f)(2) to reopen his detention

hearing if circumstances change.

      Based on the record before the Court, including Mr. Smith’s waiver on the issue

of detention, the Court finds that no condition or combination of conditions can
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reasonably ensure Mr. Smith’s continued appearance and the safety of the community.

Accordingly, the government’s motion for pretrial detention is GRANTED.

      IT IS HEREBY ORDERED that:

      1.       The motion of the United States for detention of Mr. Smith is granted,

without prejudice to Mr. Smith’s right to reopen his detention hearing pursuant to 18

U.S.C. § 3142(f)(2).

      2.       Mr. Smith is committed to the custody of the United States Marshals for

confinement in a correctional facility separate, to the extent practicable, from persons

awaiting or serving sentences or being held in custody pending appeal;

      3.       Mr. Smith shall be afforded reasonable opportunity to consult privately

with his lawyer; and

      4.       Upon order of the Court or request by the United States Attorney, the

person in charge of the correctional facility in which Mr. Smith is confined shall deliver

him to the United States Marshal for the purpose of appearance in connection with all

court proceedings.



 Dated: September 26, 2020                      s/Elizabeth Cowan Wright
    St. Paul, Minnesota                         HON. ELIZABETH COWAN WRIGHT
                                                United States Magistrate Judge




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